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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

ESTATE OF WILLIAM JEFFREY MINTON                              :
and STEPHANIE MINTON,                                         :
      Plaintiffs,                                             :
                                                              :
     vs.                                                      :
WILLIAM BRADLEY, individually;                                :       CIVIL ACTION FILE NO.
JARVIS CULVER, individually;                                  :       5:20-CV-00102-TES
KATHERINE ELIZABETH EUBANKS, individually;                    :
CORRCARE, INC., a Georgia corporation;                        :
PAUL BUCZYNSKY, M.D., individually;                           :
VALERIE HARPER, individually;                                 :
CRYSTAL BELL, individually; and                               :
MICKI HARRISON, individually,                                 :
     Defendants.                                              :

                            NOTICE OF CHANGE OF ADDRESS
       Theodore E.G. Pound and Kathleen W. Simcoe, attorneys for Defendants CorrCare, Inc.
and Paul Buczynsky, MD, hereby notify the Court and counsel of record that their law firm name
and address have changed effective immediately. Their new contact information is as follows:
                                    Theodore E.G. Pound
                                     Kathleen W. Simcoe
                                   Stites & Harbison, PLLC
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                                   Atlanta, Georgia 30308
                                    Phone: 404-739-8800
                                      tpound@stites.com
                                     ksimcoe@stites.com

       This 21st day of January, 2022.
                                                STITES & HARBISON, PLLC

                                                /s/ Theodore E.G. Pound
                                                Theodore E.G. Pound
                                                        Georgia Bar No. 585723
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       Atlanta, Georgia 30308                   /s/ Kathleen W. Simcoe
       tpound@stites.com                        Kathleen W. Simcoe
       ksimcoe@stites.com                               Georgia Bar No. 325440
       404.739.8800                             Attorneys for Defendants CorrCare, Inc.
                                                and Paul Buczynsky, M.D
          Case 5:20-cv-00102-TES Document 63 Filed 01/21/22 Page 2 of 2




                                  CERTIFICATE OF SERVICE
       This certifies that I have electronically filed the NOTICE OF CHANGE OF ADDRESS
FOR DEFENDANTS CORRCARE, INC. AND PAUL BUCZYNSKY, M.D. with the Clerk of
Court utilizing the CM/ECF system, which will automatically provide email notification of such
filing to the following attorneys of record:

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       This 21st day of January, 2022.

                                               STITES & HARBISON, PLLC

                                               /s/ Kathleen W. Simcoe
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